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 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
      In re PETITION OF INDEX
      NEWSPAPERS LLC, d/b/a THE
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      STRANGER, TO UNSEAL                               CASE NO. MC17-0145RSL
      ELECTRONIC SURVEILLANCE
10
      DOCKETS, APPLICATIONS, AND                        ORDER EXTENDING STAY
      ORDERS.
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            This matter comes before the Court on the Status Report filed by the United
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     States Attorney’s Office for the Western District of Washington and its unopposed
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     motion to extend the stay in the above-captioned matter. Dkt. # 22. The motion is
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     granted. The stay is hereby extended until December 1, 2018. The parties shall, on or
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     before that date, provide a joint status report regarding their discussions and indicating
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     whether an extension of the stay is needed, whether resolution of the petition on its
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     merits is necessary, or whether a status conference is appropriate.
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            Dated this 2nd day of October, 2018.
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                                                A
23                                              Robert S. Lasnik
                                                United States District Judge
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     ORDER EXTENDING STAY
